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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

AUGUST DEKKER, et al.,

        Plaintiffs,

v.                                         Case No. 4:22-cv-00325-RH-MAF

JASON WEIDA, et al.,

     Defendants.
____________________________/

                EXPERT REPORT OF SOPHIE SCOTT, PH.D.




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Pursuant to 28 U.S.C. 1746, I declare:

      1.     I have been retained by counsel for Defendants as an expert witness

in connection with the above-captioned litigation. I have actual knowledge of the

matters stated in this report. My professional background, experience, and

publications are detailed in my curriculum vitae. A true and accurate copy of my

curriculum vitae, which includes a list of my publications, is attached as Exhibit

A to this report.

      2.     I have testified as an expert witness in the following cases, at trial or

in deposition in the last four years: Bell v Mrs A vs Tavistock and Portman Trust,

Case No: CO/60/2020, December 2020.

      3.     I am being compensated at an hourly rate for actual time devoted, at

the rate of $400 per hour including report drafting, testimony, and consultation.

My compensation does not depend on the outcome of this litigation, the opinions

I express, or the testimony I provide.

      4.     The opinions expressed in this report are based on my training and

experience as a neuroscientist, my reading and my assessment of the relevant

neuroscientific literature on brain development, and the potential effects of

gonadotropin-releasing hormone (GnRH) agonists (the most common form of

what are often called puberty blockers) on the developing brain.

      5.     If called to testify in this matter, I would testify truthfully and based

on my expert opinion. The opinions and conclusions I express herein are based

on a reasonable degree of scientific certainty.
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                                  Introduction

      6.     I am the Director of University College London’s (UCL’s) Institute

of Cognitive Neuroscience. I have published over 130 peer reviewed scientific

papers, including papers in Nature, Science, and the Proceedings of the Academy

of Natural Sciences. I am a fellow of the Academy of Medical Sciences, and of

the British Academy. Since my PhD was awarded in 1994, I have been working

in cognitive neuroscience, a scientific field that examines the relationships

between human behaviour to the human brain, and how these can be affected by

age, disease and individual differences. See Attached Curriculum Vitae.

      7.     As a neuroscientist I am very familiar with the existence of

variations of sexual preference, and the existence of variations in gender identity.

I think that the anecdotal evidence we have suggests that transition may, for some

younger people, be an effective treatment for gender dysphoria, and that the

medical approaches taken to achieve this may therefore be appropriate. Thus is it

entirely possible that the use of puberty blockers is appropriate in some

exceptional cases of gender dysphoria in prepubescent and adolescent

individuals. My concern is that we do not yet have enough evidence about the

best ways to identify the individuals for whom they are appropriate: we have not

identified any biological markers or other characteristics to identify individuals

for whom GnRH antagonists might provide effective; we do not have any reliable

studies that show which young gender dysphoric individuals will remain gender

dysphoric after adolescence; and we thus do not yet know who might benefit from
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this highly medicalised and largely non-reversible treatment. I am also very

concerned that the implications of the effects of puberty blockers on the

developing brain and body are not well understood. In both of these areas much

more research is needed.

      8.     All cultures recognise the onset of adolescence as the start of the

entry into the adult world: it is a journey into that world, and a journey that takes

place over several years. In 2005 the US supreme court, influenced partly by this

emerging neuroscience research, increased the minimum age for capital

punishment to be the same as that for voting and serving on juries. Around the

world, many such limitations on the responsibility for teenagers for their own

actions are in place – alongside laws which mean that teenagers could not

engaging in risky behaviours that could place them or others at risk or having to

live with long terms consequences (e.g. ages for driving, drinking alcohol, age of

consent, getting a tattoo). Much of this reflects a lay understanding of what

neuroscience is now confirming – there is variation from child to child, but

teenage brains on the whole are structurally and functionally different from adult

brains, and this affects both their engaging with risky behaviour, and their

understanding of the implications of risky behaviour.

      9.     The human brain is formed of approximately 89 billion brain cells,

or neurones, most of which are grown during gestation (Bayer et al. 1993;

Rakic 1995). Following birth, there is a further period of extended brain

development. Directly after birth, the brain grows rapidly, quadrupling in size
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between birth and age 6, when it is roughly 90% the size of an adult brain.

However the pattern of growth is underpinned by some complex changes that are

occurring. These are:

      •      Synaptic pruning

      •      Myelination of different brain networks

      •      Differential growth of specific functional and anatomical areas.

      10.    Before I go into this in detail it’s important to note that brain cells,

or neurones, are formed of a cell body, with a long projection (an axon) and

branch-like shorter projections (dendrites) from the cell body or from the far end

of the axon. The axons can be thought of as ways the neurone can connect to

more distant neurones, while the dendrites connect to nearby neurones. These

connections are called synapses. Changes in the brain – associated with learning

and development - occur largely through the connections between neurones,

which can be through the strengthening of existing connections, or through the

development of new dendritic connections. The axons are coated in a slim fatty

sheath, called myelin: this enables the electrical discharges that enable transfer of

information in the brain to be propagated rapidly along the length of the axon.

Myelination is a process that increases the speed and efficiently of neural

function. Neurones are highly organised in the brain, with the cell bodies forming

structure layers on the surface of the brain (the cortex), as well as in sub cortical

nuclei of cell bodies: the axons form tracts of connections between cortical areas,

to and from sub cortical areas, and between the two hemispheres of the brain.
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These tracts look white, due to the fatty myelin sheaths: this leads to the name

‘white matter’ for these tracts or connective networks. In contrast, the

unmyelinated neuronal cell bodies look grey, hence the term ‘grey matter’.

      11.    At birth and in early infancy, many dendritic connections exist and

are created between neurones: this is known as synaptic exuberance. In the early

years of life these are rapidly pruned, at first quickly, then more slowly. During

adolescence a more adult profile of synaptic connections starts to appear: this

appears most slowly in prefrontal fields compared to sensory and is still not

established fully at age 18yrs (Huttenlocher and Dabholkar, 1997). The

relationship between synaptic exuberance and pruning and their implications for

the developing brain and experience are still being explored, but in terms of brain

connectivity, the adult pattern is not yet established at 18: development continues

into the early 20s.

      12.    Myelination in the human brain begins in visual brain areas a couple

of months before birth and continues in other sensory brain areas over the first

year. This process continues in other cortical and subcortical systems into the

middle of the third decade. This has been expressly linked to the development of

cognitive skills in children and adolescents, as myelination greatly improves the

speed of condition of neurones, and hence their efficiency. Myelination proceeds

in a roughly caudal to rostral direction in the brain, which means form back to

front. This means that it is frontal and prefrontal fields that are those continuing

to be myelinated into the mid 20s: this has been confirmed by more recent studies
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looking at fractional anisotopy in the brain (Lebel et al., 2008). At 18yrs old, the

connections to the frontal lobes are not myelinated like a mature adult brain, and

this is likely to affect frontal lobe functions.

       13.    Throughout childhood, the brain grows and changes: this involves a

non-linear pattern of change in the proportion of white and grey matter, which

may partly involve changes in myelination (see above) and also the loss of cells

through cell death (Sowell et al. 2004). A recent study looking at this pattern into

adolescence found that “First, we found evidence for continued development of

both intracranial volume (ICV) and whole brain volume (WBV) through

adolescence, albeit following distinct trajectories. Second, our results indicate

that CGMV is at its highest in childhood, decreasing steadily through the second

decade with deceleration in the third decade, while CWMV increases until mid-

to-late adolescence before decelerating” (Mills et al, 2016). This indicates that

considerable changes are still happening in the structure of the adolescent brain.

In terms of specific brain areas, while the cortex continues to thin through

adolescence, the decreases are most marked in the parietal lobes and least marked

(or growth is seen) in temporal and prefrontal fields (Tamnes et al, 2017).

                                    Implications

       14.    The pattern of maturation of the brain in adolescence suggests a

particular issue with frontal lobe functions – the frontal and temporal lobes are

showing a different pattern of change (in terms of movement towards adult

profiles) compared to more caudal fields, and the frontal lobes are the last to be
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fully myelinated. The frontal lobes are associated with complex cognitive control

processes, so called ‘meta-cognitive processes’ that enable us to plan our

behaviour, control our responses, to be able to adapt our behaviour to different

contexts and requirements, and to anticipate the implications and consequences

of behaviour. The absence of mature frontal lobe connectivity and functions has

been linked to increased impulsivity and risk-taking in adolescence, and to their

greater susceptibility to peer opinions and behaviour (Blakemore and Robbins,

Nature Neuroscience, 2012). Functional imaging studies – addressing how brains

function under different task requirement – have shown that while adults recruit

frontal lobe networks during decision making tasks, teenagers are more likely to

recruit ‘limbic networks” i.e. sub cortical networks linked more to emotional

processing and reward processing: the implication is that the differential integrity

of frontal lobe connectivity leads to teenagers making different, more risky

decisions than adults, and relying on different brain networks to do so. This is

backed up by behavioural studies showing that when decision making is ‘hot’

(i.e. more emotional), under 18yr olds make less rational decisions than when the

responses are being made in a colder, less emotional context.

      15.    Puberty blockers (specifically, gonadotrophin-releasing hormone

agonists) work by preventing the release of gonadotrophin-releasing hormone

from the hypothalamus. Gonadotrophin releasing hormones have many effects,

including stimulating the gonads (testes and ovaries) to produce testosterone and

oestrogen. In childhood, the level of Gonadotrophin releasing hormones is very
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low, but an increase in this prompts the onset of puberty, with the release of

testosterone and oestrogen; these in turn have masculinising or feminising effects

on the bodies and the brain. As puberty is associated with very marked changes

in the structure of the brain (as outlined above) the use of puberty blockers may

have serious consequences for the development of the human brain. We know

from studies on sheep (Nuruddin et al, 2013) that treatment around the onset of

puberty with gonadotrophin-releasing hormone agonists is associated with

significant differences in the size of the amygdala (found to be larger in treated

animals) and this was linked to some differences in emotional reactions. The male

treated sheep showed greater approach responses and more risk taking

behaviours, while the treated female sheep showed higher levels of anxiety and

greater avoidance behaviour (Wojniusz et al, 2011). A behavioural study of natal

girls who were treated for precocious (early) puberty with Gonadotrophin

releasing hormone agonists (Wojniusz 2016) found that they also showed

significant greater emotional reactivity on one of the tests used, relative to the

control group. The treated girls also showed significantly lower heart rates than

the untreated control group. In a commentary on this article (Hayes, 2017) it was

pointed out that there were also notably lower scores on IQ measures and sub

scales in the group of girls who were treated with Gonadotrophin releasing

hormone agonists. He points out that “their reassuring statement in the abstract

that girls undergoing GnRHa treatment for CPP and controls “showed very

similar scores with regard to cognitive performance” and their conclusion that
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“GnRHa treated girls do not differ in their cognitive functioning ... from the same

age peers” (Wojniusz et al., 2016) may be overly optimistic. These statements

minimize the fairly substantial difference found in IQ scores” (Hayes, 2017).

Hayes also points to an older study that found a significant drop in IQ associated

with taking triptorelin acetate to treat precocious puberty (Mul et al, 2001). Note

that in all of these cases, in humans and other mammals, we cannot say if the

results are due to direct effects of the Gonadotrophin releasing hormones on the

brain, heart and behaviour, or if they are secondary to this (e.g. due to the altered

levels of testosterone or oestrogen, or changes in the heart rate itself). All the

papers I can find suggest that we need much more data on the long-term brain

effects of Gonadotrophin releasing hormones when administered around puberty,

the effects this can have on behaviour, and the extent to which any of this is

altered if the treatment with Gonadotrophin releasing hormones is stopped.

      16.    I am very concerned that the current treatment regime is exposing

young people to significant risk of harm. The greater susceptibility to peer

pressure in those under 18 may make them especially vulnerable to risk taking,

and this may well be enhanced by social media, where actions can be encouraged

without any responsibility for outcomes. We need more research to be able to

determine the potential for puberty blockers to be effective in alleviating some

aspects of gender dysphoria, and to be able to differentiate those who might be

helped by this treatment from those who will not. Furthermore, given the risks of

puberty blocking treatment, and the fact that these will have irreversible, lifelong
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effects, it is very possible for an adolescent to be unable to fully grasp the

implications of puberty-blocking treatment, even if the risks are well explained.

All the evidence we have suggests that the complex, emotionally charged

decisions required to engage with this treatment are not yet acquired as a skill at

this age, both in terms of brain maturation and in terms of behaviour.



      I declare, pursuant to 28 USC § 1746, under penalty of perjury that the

foregoing is true and correct. Executed on February 16th, 2023.

                                              _______________________
                                              /s/ Sophie Scott
                                              Sophie Scott, Ph.D.




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                            Exhibit "A"
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       PROF SOPHIE KERTTU SCOTT CBE, FMEDSCI, FBA

Date of Birth: 16-11-1966
Address: Institute of Cognitive Neuroscience, UCL, 17 Queen Square,
London, WC1N 3AR
email: sophie.scott@ucl.ac.uk
CURRENT POSITION
2019 – Director, Institute of Cognitive Neuroscience, University College
London
EDUCATION/QUALIFICATIONS
1994 University College London, PhD in Cognitive Science
1990 Polytechnic of Central London, BSc (Hons) 2:1, Psychology
PROFESSIONAL HISTORY
1993-1998 MRC Applied Psychology Unit, Cambridge, Senior Scientific
Officer
1998-2001 Research Fellow, Institute of Cognitive Neuroscience, UCL.
2001-2005 Wellcome Career Development Fellow, Dept. Psychology, UCL
2004 - Group Leader, Speech Communication Lab
2006- Professor of Cognitive Neuroscience, UCL
2005-2016 Wellcome Trust Senior Fellow, Institute of Cognitive
Neuroscience
2013-2019Deputy Director, Institute of Cognitive Neuroscience, UCL
2019 – Director, Institute of Cognitive Neuroscience, University College
London
I took maternity leave between June 2006-June 2007.
PRIZES AND RECOGNITION
2022 Awarded an Honorary degree by the University of Westminster
2021 awarded the Michael Faraday prize by the Royal Society
2020 appointed Commander of the Most Excellent Order of the British
Empire for services to Neuroscience
2019 Royal Literature Society “Reading Matters” prize, for “The
Neuromantics”, my podcast with poet and writer Dr Will Eaves
2017 presented the Royal Institution Christmas Lectures
2017 Royal Society Summer Science Exhibition, “What’s in a Voice?”
2016 elected as a Fellow of the British Academy
2016-2018 UCL TEDx License holder
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2015 spoke at the annual TED conference, Vancouver (talk has been viewed
over 4.4 million times on TED.com).
2015 gave Prize Lecture at the Physiology Society meeting, Cardiff.
2014 included in Who’s Who
2013 won UCL Provosts’ Award for Public Engagement (grade 8 and above
category).
2012 Royal Society Summer Science Exhibition, “LOL: Science and Art of
Laughter”
2012 Elected as Fellow of the Academy of Medical Sciences
2003 Royal Society Summer Science Exhibition, “Science of Speaking”

SUPERVISION OF GRADUATE STUDENTS
Since 2002, 14 PhD students supervised at UCL, and 35 MSc students at
UCL, 2 at City University and one at the University of Reading
EDITORIAL WORK
2015 – associate editor for The Psychologist (British Psychological Society
monthly journal).
2009 – 2014 Editorial Board of Cognitive Neuroscience
2010 – 2013 Section Editor, Language, Neuropsychologia
2008 – 2015 Associate Editor of Brain and Language
2004 –2009 Associate Editor of the Quarterly Journal of Experimental
Psychology
MANAGEMENT AND FACILITATION
2020 - PALS Director for EDI
2015 – member, PALS Academic Careers and Diversity Committee
2015-2019– chair of ICN Public Activities Committee
2014 – 2019 deputizing for Prof Neil Burgess (ICN Director) at Faculty of
Brain Sciences’ Faculty Executive Committee meetings
2004 – representing the Speech Communication Group at the ICN Group
Leader’s committee
JUDGING AND COMMITTEES
2022 - member of ILCB advisory board
2019- Chair of Board of Trustees, Told By An Idiot theatre company
(https://www.toldbyanidiot.org/about/)
2017- 2022 member of the Royal Society Dorothy Hodgkin Fellowship
Committee
2015- associate Editor of the Psychologist and Digest Policy Advisory
Committee, British Psychological Society
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2015 Judge, Comment Awards
2015, 2018 Judge, Philip Leverhulme Prize
2014 Judge, Wellcome science writing prize
2013- Trustee, Jericho House theatre company (registered charity number
1131984)
EXTERNAL EXAMINING
2009-2012 External Examiner, BSc Psychology, University of Sussex
2009-2013 External Examiner, MSc Cognitive Neuroscience, University of
York
2015-2019 External Examiner, BSc Psychology, University of Reading
TEACHING
2011-2014 Course convener, “Theories and Paradigms in Cognitive
Neuroscience” UCL MSc in Cognitive Neuroscience.
2015- Module Convener, “Science Communication for Cognitive
Neuroscientists” UCL MSc/MRes in Cognitive Neuroscience.
2023- Module Convener, “Power, Inclusion, Exclusion and Working with
local communities”.
GRANTS
Wellcome Trust Hub award development funding, for ‘Talking Funny’,
£13000 over 18 months
Wellcome Trust Public engagement award, for “What’s in a Voice” exhibit
at the Royal Society Summer Science Exhibition, £20,000 over 12 months.
Wellcome Trust People Award for public engagement activities: for LOL
event at the Royal Society, awarded 2012, amount £19,000 over 12 months.
Wellcome Trust Senior Fellowship, awarded April 2010 “Neurobiology of
speech communication - cognition, plasticity, and social interactions” total
amount awarded £1,184, 506, over 60 months.
Wellcome Trust Senior Fellowship, awarded May 2004 ‘the Neurobiology
of Speech Perception – Cognitive and Clinical Links’. Total amount
awarded £800,270, over 60 months.
Wellcome Trust RCDF grant, from April 2001-April 2005, ‘the
Neurobiology of speech perception’. Total amount awarded £358,376, over
48 months.
Marie Curie Incoming Scientist Fellowship, awarded November 2004,
sponsoring Narly Golestani, £100,914 over 24 months.
ESRC grant awarded for new post doctoral researchers, sponsoring Charlotte
Jacquemot, awarded May 2004, £30,919 awarded over 12 months.
ESRC grant awarded for new post doctoral researchers, sponsoring Patti
Adank, awarded May 2005, £31,591 awarded over 12 months
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ESRC +3 studentship award, awarded May 2004 (supervising Carolyn
McGettigan)
British Academy meetings award, for the John Morton Festschrift, £2000
Experimental Psychology Society research seminar award, for the John
Morton Festschrift, £3000
British Association for the Advancement of Science award for Key events in
National Science and Engineering Week, 2008, £1000


ACADEMIC SUPERVISION
2001 -2004 Supervised Charvy Narain, the research assistant on my
Wellcome RCDF award. Charvy was awarded a PhD in 2003 and took a job
as an editor at Nature Neuroscience: she is now a Scientific Outreach
Manager at the University of Oxford.
2002 -2006 supervised Disa Sauter, a research student in the Dept.
Psychology at UCL. Disa passed her PhD viva without corrections in
December 2006, and currently holds her a lecturer position at the University
of Amsterdam..
2004 -2005 Supervised Dr. Charlotte Jacquemot, a post-doctoral fellow.
Charlotte has been awarded a permanent CNRS position in France, which
she began in 2006
2004 - 2012 supervised Carolyn McGettigan, a research student in the Dept
of Human Communication Sciences. Carolyn passed her PhD viva without
corrections in March 2008, was employed as a post-doctoral fellow on my
Wellcome SRF grant until 2012 when she left to take up a lectureship at
RHUL. She is now a Professor at UCL.
2005 -2006 supervised Dr. Patti Adank, a post-doctoral fellow. Patti is now a
Professor at UCL.
2005 -2008 Supervised Dr Frank Eisner as a post-doctoral fellow on my
Wellcome SRF award. Since January 2009, Frank held post-doc position at
the Max-Planck-Institute for Psycholinguistics in Nijmegen, and is now a
researcher at the Centre for Cognition of the Donders Institute for Brain,
Cognition and Behaviour.
2005 -2007 Supervised Dr. Jonas Obleser as a post-doctoral fellow on my
Wellcome SRF award. Since April 2007, Jonas has held a Junior Staff
Scientist position at the Max Planck Institute for Human Cognitive and
Brain Sciences, Leipzig, Germany, where ran his own research group: he is
now a Professor at the Department of Psychology, University of Lübeck.
2005-2007 supervised Dr. Narly Golestani, a post-doctoral fellow, who now
heads the Brain and Language Lab at the Cognitive Science Hub of the
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University of Vienna, Austria, and at the Department of Psychology at the
University of Geneva, Switzerland.2008 -2009 – supervised Nicholas Abreu,
who has a Fulbright Scholarship to work in the UK for a year. Nicholas
started medical school at Harvard in September 2009.
2009 - 2013 Dr Zarinah Agnew appointed as a post-doctoral fellow on my
Wellcome SRF grant. Zarinah now works at UCSF as a post-doc in John
Houde’s lab.
2010 -2015 supervised Pradheep Shanmugalingam as an ESRC funded PhD
student. Pradheep is now training in simultaneous translation.
2012 - 2015 supervising Kyle Jasmin as a PhD student on the UCL/NIH
program (NIH supervisor Alex Martin). Kyle joined my lab as a post-
doctoral fellow and then was awarded a a Leverhulme research fellowship at
Birkbeck: he is now a lecturer at Royal Holloway UL.
2012 -2013 Nadine Lavan joined my lab as an RA for 12 months. Nadine
left to take up a PhD place at RHUL: she now holds a Wellcome Fellowship
at QMUL.
2013 - Supervising Sophie Meekings as an ESRC funded PhD student.
Sophie was awarded a BA fellowship at Newcastle University, and was
awarded a Dorothy Hodgkin fellowship in 2021, held at University of York.
2013 - Supervising Sinead Chen as a PhD student funded by a grant from the
Taiwanese Government. Sinead now works for a policy think tank in
Taiwan.
2013 -2015 Samuel Evans joined my lab as a post-doc on my Wellcome
SRF grant. Now a lecturer at the University of Westminster
2013 – 2014 Dana Boebinger joined my lab as an RA. Dana left in August
2014 to start a PhD at Harvard, she is now a post do at the University of
Rochester.
2015 – 2016 César Lima joined my lab as a senior post-doctoral fellow on
my Wellcome SRF grant. César Lima is Assistant Professor of Psychology
at Iscte - University Institute of Lisbon since 2017.
2017- Qing Cai joined my lab as a PhD student with funding from the
Chinese government from 2018.
2017- Alexis Deighton McIntyre joined my lab as a PhD student with a UCL
Graduate School studentship. In October 2021 she joined the MRC CBU as
a postdoctoral researcher.
2018-Addison Billings joined my lab as a PhD student
2019 - Efe Caswell Niven joined my lab as a PhD student
SCIENTIFIC PUBLICATIONS-REFEREED ARTICLES
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1. Scott, SK, Jasmin, K (2022) Rostro-caudal networks for sound processing in
   the primate brain, Frontiers in Neuroscience, 16, 1076374,
   10.3389/fnins.2022.1076374
2. Scott, SK, Cai, CQ, Billing, A (2022) Robert Provine: the critical human
   importance of laughter, connections and contagion. Philosophical
   Transactions of the Royal Society B-Biological Sciences, 377(1863)
   20210178 10.1098/rstb.2021.0178
3. Scott, SK (2022) Why public engagement is important for neuroscientists.
   Nature Reviews Neuroscience, 23(8):453-4.
4. MacIntyre, AD, Scott, SK (2022) Listeners are sensitive to the speech
   breathing time series: Evidence from a gap detection task. Cognition, 225,
   105171 10.1016/j.cognition.2022.105171
5. Conde, T, Correia, AI, Roberto, MS, Scott, SK, Lima, CF, Pinheiro, AP
   (2022) The time course of emotional authenticity detection in nonverbal
   vocalizations, Cortex, 151:116-132.
6.
7. Billing, ADN, Scott, SK (2022) Possible limitations of perceptual studies for
   informing production networks-The case of laughter. Cortex, 148: : 218-221.
8. MacIntyre, AD, Cai, CQ, Scott, SK (2022) Pushing the envelope: Evaluating
   speech rhythm with different envelope extraction techniques, Journal of the
   Acoustical Society of America. 151(3):2002:2026.
9. Alderson-Day B, Moffatt, J, Lima, CF, Krishnan, S, Fernyhough, C, Scott,
   SK, Denton, S, Leong, IYT, Oncel, AD, Wu, YL, Gurbuz, Z, Evans, S
   (2022) Susceptibility to auditory hallucinations is associated with
   spontaneous but not directed modulation of top-down expectations for
   speech. Neuroscience of Consciousness, 2022(1)
   https://doi.org/10.1093/nc/niac002
10.Kamiloglu, RG, Tanaka, A, Scott, SK, Sauter, DA (2022) Perception of
   group membership from spontaneous and volitional laughter. Philosophical
   Transactions of the Royal Society B-Biological Sciences, 377: 20200404.
11.Pinheiro, AP, Anikin, A, Conde, T, Sarzedas, J, Chen, S, Scott, SK, Lima,
   CF (2021) Emotional authenticity modulates affective and social trait
   inferences from voices. Philosophical Transactions of the Royal Society B-
   Biological Sciences 376: 20200402.
12.Billing ADN, Cooper RJ, Scott SK (2021) Pre-SMA activation and the
   perception of contagiousness and authenticity in laughter sounds, Cortex,
   143: 57-68.
13.Scott SK (2021) The neural control of volitional vocal production-from
   speech to identity, from social meaning to song. Philos Trans R Soc Lond B
   Biol Sci, 377(1841):20200395.
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14.Lavan N, Scott SK, McGettigan C (2017) Impaired generalization of speaker
   identity in the perception of familiar and unfamiliar voices. J Exp Psychol
   Gen., 145(12):1604-1614
15.Cosme G, Rosa PJ, Lima CF, Tavares V, Scott S, Chen S, Wilcockson
   TDW, Crawford TJ, Prata D (2021). Pupil dilation reflects the authenticity
   of received nonverbal vocalizations. Scientific Reports. 11:3733.
16.Meekings S, Scott SK. (in press) Error in the Superior Temporal Gyrus? A
   Systematic Review and Activation Likelihood Estimation Meta-Analysis of
   Speech Production Studies. Journal of Cognitive Neuroscience.
17.Cai Q, Chen S, White SJ, Scott SK (2019). Modulation of humor ratings of
   bad jokes by other people’s laughter. Current Biology. 29(14):R677-R678
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